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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI
EASTERN DIVISI()N

Nicole Sullivan
4501 Jamieson Avenue APT D
St. Louis, MO 63109

Plaintiff,
v.
Medicredit, lnc.
c/o Bennett S. Keller, Registered Agent
7701 Forsyth Blvd. Suite 400
St. Louis, MO 63105

Defendant.

 

CASE NO.:

.TUDGE:

of 4 Page|D #: 4

COMPLAINT FG|R DAMAGES
UNDER THE FAIR DEBT
COLLECTION PRACTICES ACT AND
OTHER EQUITABLE RELIEF

JURY DEMAND ENI)ORSED HEREIN

 

JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the F air Debt Collections

Practices Act (FDCPA), 15 U.S.C. §1692. Venue is proper in this district because

this is the judicial district where all of the events giving rise to the cause of action

took place.

FACTS COMMON TO ALL COUNTS

2. The Plaintiff is a person Who incurred a consumer debt primarily for

or household purposes.

personal, family

3. Defendant is a corporation doing business primarily as a consumer debt collector.

4. Defendant is a debt collector as defined by the FDCPA, 15 U.S.C. §1692a(6).

5. The Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

6. The debt in question qualifies as a “debt” as defined by 15 U.S.C. §1692a(5).

 

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Defendant is either the holder of the debt or was retained by the curr
collect the debt.

All of Defendant’s actions occurred within one year of the date of thl

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ent holder to

s Complaint.

In or around May, 2007, Plaintiff contacted Defendant after discovering that an

account with Defendant was on Plaintiff’ s credit report.

 

During the communication referenced above, Plaintiff informed Defendant that

Plaintiff was concerned that the debt might not be valid and Defendaint stated that the

debt would not be verified until Defendant sued Plaintiff.

At no point during the communication referenced above in paragraph 10 did

Defendant inform Plaintiff of Plaintiff’ s right to request a validation of the debt.

Plaintiff never received written notice of the opportunity to request a
debt.

On or around June 4, 2007, Defendant contacted Plaintiff at Plaintiff

validation of the

s place of

employment and Plaintiff informed Defendant that Plaintiff was not allowed to

receive personal calls at work regarding her debt and requested that Defendant refrain

from calling her at work in the future.

Despite Plaintiff" s notice and request, Defendant contacted Plaintiff at work again on

the same day as the communication addressed above in paragraph 13
On or around June 5, 2007, Defendant contacted Plaintiff at work age
During the communication addressed above in paragraph 15, Defend
misrepresented that Defendant had spoken to Plaintiff’ s supervisor to

employment

During the communication referenced above in paragraph 15, Defend

to garnish Plaintiff’ s wages.

lin.
ant

verify

ant threatened

18. Defendant has not sued Plaintiff or attempted to garnish Plaintiff’ s wages.

 

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Plaintiff is emotionally distraught and has been compelled to hire copnsel to
prosecute this action.
Defendant has damaged Plaintiff emotionally and mentally and has caused substantial
anxiety and stress.
Defendant violated the FDCPA.
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Violation of the Fair Debt Collections Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §16920 by calling Plaintiff at Work after it was
informed that Plaintiff did not want to receive and was not permitted to receive
personal phone calls at work.

COUNT TWO

Violation of the Fair Debt Collections Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §1692g by failing, within five days of the initial
communication to send the applicable notice pursuant to that section

COUNT THREE

Violation of the Fair Debt Collections Practices Act
Plaintiff incorporates each of the preceding allegations as if specifically stated herein.
The Defendant violated 15 U.S.C. §1692f in that its actions were unfair and/or

unconscionable means to collect a debt.

 

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COUNT FOUR
Violation of the Fair Debt Collections Practices Act
28. Plaintiff incorporates each of the preceding allegations as if specifica
29. The Defendant violated 15 U.S.C. §1692e in that it threatened legal 2
action was not contemplated, and stated for the sole purpose of terrif ying the Plaintiff.
QLEIEXE
Violation of the Fair Debt Collections Practices Act
30. Plaintiff incorporates each of the preceding allegations as if specifica
31. The Defendant violated 15 U.S.C. §1692e by making misrepresentat]
conversations with Plaintiff.
JURY DEMAND
32. Plaintiff demands a trial by jury.
PRAYER FOR RELIEF
33. Plaintiff prays for the following relief'.
a. Judgment against Defendant for actual damages, statutory
pursuant to 15 U.S.C. §1692k and costs, and reasonable a

pursuant to 15 U.S.C. §1692k.

b. F or such other legal and/or equitable relief as the Court dc

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lly stated herein.

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damages

ttomey’s fees

:ems appropriate

RESPECTFULLY SUBMITTED,

Legal Helpers, P.C.

&10,/, A

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